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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS                      zu JuN     6


                                                                                             PM 2:05
                                 AUSTIN DIVISION


FRANCISCO RIZO and
HERMELINDA RIZO,
              Plaintiffs,
                                                                 CAUSE NO.:
-vs-                                                           A-17-CA-00347-SS
STATE AUTO PROPERTY &
CASUALTY INSURANCE COMPANY
and DUSTIN CHARLES BRADFORD,
              Defendants.


                                          ORDER

       BE IT REMEMBERED on the 5th day of June 2017, the Court held a hearing in the

above-styled cause, and the parties appeared by and through counsel. In confirmation of its oral

pronouncements at the hearing, the Court now enters the following:

              IT IS ORDERED that Plaintiffs' Unopposed Motion for Leave to File their First

       Amended Complaint [#18 is GRANTED; and

              IT IS FINALLY ORDERED that Defendants' Motion to Dismiss j#3] is

       DISMISSED AS MOOT.

       SIGNED this the          day of June 2017.




                                                    SAM't'Y'
                                                    UNITED STATES DISTRICT JUDGE
